Case 2:10-md-02179-CJB-DPC Document 11988-14 Filed 12/16/13 Page 1 of 21




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Sutton. Lionel     100184170 Mestayer and Meslaver(ALC)           Mestaver and Mestaver                         6/181 3 2:17 PM
Sutton. Lend       100169072 Berard Transportation. Inc.          Michael i. Mestayer. APLC                     6/181 3 2: : J\i
Sutton. Lionel     100184170 Mestaver and Meslaver ALC)           Mestaver and Mestayer                         6/18/ 3 2:19 PM
Sutton. Lionel     100184 I 70 Mestavcr and Meslavcr tALC)        Mestaver and Mestayer                         6..’ 18/ 3 2:20 PM
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